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                665UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

                     CASE MANAGEMENT ORDER

       This Case Management Order (CMO) shall not apply to those

 defendants who have not filed an answer, except as otherwise provided

 by Court order. Any defendant to which this order does not apply shall

 be treated as a non-party for the purposes of discovery, subject to the

 defendant’s properly raised objection. Non-parties who have been

 previously identified as defendants shall be entitled to participate in

 discovery initiated by other parties. If and when any such defendants file

 an answer, such defendants shall be entitled to initiate discovery, the

 timing and manner of which shall then be established by this Court.
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 I.      Preliminary Discovery

         A.      Documents-Only Subpoenas to Non-Parties

         (1) The Court has previously authorized service of documents-only

 subpoenas on non-parties and prescribed procedures that the parties are

 to follow in connection with drafting, serving, and enforcing such

 subpoenas. The parties may continue serving these subpoenas in

 accordance with the previously prescribed procedures until those

 procedures are amended by further order.

         B.      Exchange of Freedom of Information Act Materials

         (1) Within seven (7) days from entry of this CMO (May 7, 2019), Co-

 Lead Class Counsel and Co-Liaison Counsel will give written notice to

 counsel for defendants of documents and other information that they

 have obtained by means of Freedom of Information Act (FOIA) requests

 submitted pursuant to 5 U.S.C. § 552, Mich. Comp. Laws §§ 15.231–246,

 or any statute or regulation of similar purpose in any other state. This

 paragraph applies only to information obtained relating to the alleged

 contamination of the City of Flint water supply on or after April 25, 2014.



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       (2) The notice described above shall concisely identify the public

 person,    agency,   or   entity   that   provided   the   FOIA    response,

 approximately when the response was provided, the form in which it was

 provided, approximately how large the response was, and the general

 types of materials included in the response. Counsel who wish to obtain

 copies of the materials identified in the notice may do so from the counsel

 who provided the notice, but must reimburse for the reasonable actual

 expense of providing them. Copies should be produced in the same form

 in which they were produced in response to the FOIA request unless they

 are no longer available in that form. Counsel have an obligation to

 ascertain the FOIA materials over which they have control.

       (3) Within seven (7) days from entry of this CMO (May 7, 2019),

 counsel for defendants will give written notice to Co-Lead Class Counsel

 and Co-Liaison Counsel of documents and other information that they

 have obtained by means of Freedom of Information Act (FOIA) requests

 submitted pursuant to 5 U.S.C. § 552, Mich. Comp. Laws §§ 15.231–246,

 or any statute or regulation of similar purpose in any other state. This

 paragraph applies only to information obtained relating to the alleged

 contamination of the City of Flint water supply on or after April 25, 2014.


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 The same procedures and requirements described in paragraph I.B(2)

 shall regulate the production of documents in this paragraph.

       (4) All requests for FOIA information authorized under this Section

 shall be made no later than thirty-seven (37) days from entry of this CMO

 (June 6, 2019). Production of documents shall be made within fourteen

 (14) days after a requesting party delivers its written request.

 II.   Written Discovery

       A.    Privilege Logs

       (1) Each party must maintain a log of potentially Privileged

 Communications.

        (2) No party must include in its privilege log Privileged

 Communications between the party or the party’s employees and the

 attorneys who represent the party in the Flint Water Cases or related

 litigation. With defendants, this paragraph only applies to Privileged

 Communications created or occurring on or after the date that a

 complaint was filed naming the defendant as a party to the Flint Water

 Cases or a related matter in this Court or any other. With plaintiffs, this

 paragraph only applies to Privileged Communications that were had on

 or after the date that the plaintiff filed a complaint in the Flint Water

 Cases or a related matter in this Court or any other. This exception shall
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 not apply to communications shared with someone other than the party,

 or the party’s employees, attorneys, experts, or insurer.

       (3) The parties are not required to log Privileged Communications

 that are shared among parties who share a Joint Defense Agreement or

 Common Interest Agreement.

       (4) No plaintiff must include in its privilege log confidential

 communications between the plaintiff's attorneys and Co-Lead Class

 Counsel or Co-Liaison Counsel, if the communications relate to matters

 within the scope of their duties. Similarly, no defendant in any Flint

 Water Case must include in its privilege log confidential communications

 between that defendant's attorneys and members of the Defense

 Executive Committee, if the communications relate to matters within the

 scope of their duties.

       (5) No plaintiff who is also a plaintiff in a Genesee County case

 included within that court's Flint Water Litigation must include in its

 privilege log confidential communications between the plaintiff's

 attorneys and Lead Co-Liaison Counsel and Lead Class Action Counsel

 as appointed by the Genesee County Circuit Court, if the communications

 relate to matters within the scope of their duties. Similarly, no defendant


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 who is also a defendant in a Genesee County action included within that

 court's Flint Water Litigation must include in its privilege log

 confidential communications between the defendant's attorneys and the

 Lead Defense Counsel and Defendants' Lead Class Action Counsel as

 appointed by the Genesee County Circuit Court, if the communications

 relate to matters within the scope of their duties.

       (6) The failure to include in a privilege log any Privileged

 Communication exempted by this section shall not constitute a waiver of

 the privilege.

       (7) As used in this Section, references to an attorney includes other

 attorneys and employees in an attorney's firm, outside counsel, contract

 attorneys, and legal services vendors hired by an attorney's firm. With

 respect to parties that are not natural persons, it also includes in-house

 attorneys and other employees on the party's legal staff and legal services

 vendors hired by the party.

       B.    Requests for Documents and Tangible Things

       (1) Beginning seven (7) days from entry of this CMO (May 7, 2019),

 Co-Lead Class Counsel and Co-Liaison Counsel may serve requests for

 production of documents and tangible things on defendants. These


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 counsel will coordinate so that defendants shall not need to respond to

 the same request twice. Beginning seven (7) days from entry of this CMO

 (May 7, 2019), counsel for defendants may also serve requests for

 production of documents and tangible things on the named plaintiffs in

 the consolidated putative class action Carthan v. Snyder, No. 16-cv-

 10444. However, no defendant may serve such requests on any named

 plaintiff whose claims against that defendant have been dismissed in

 their entirety.

       (2) Beginning seven (7) days from entry of this CMO (May 7, 2019),

 each defendant may serve requests for production of documents and

 tangible things on other defendants. However, no defendant may serve

 such requests on any defendant which is not a current codefendant with

 it in at least one of the Flint Water Cases.

       (3) Parties shall follow Federal Rule of Civil Procedure 34(b)(2)(A)

 in responding to requests for production of documents and tangible

 things. Within ninety-seven (97) days from entry of this CMO (August 5,

 2019), parties shall substantially complete requests for production of

 documents and tangible things (“Substantial Completion”), with the




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 exception that this deadline only applies to requests made within

 fourteen (14) days from entry of this CMO (May 14, 2019).

       (4) Counsel for defendants shall serve requests for production of

 documents and tangible things on plaintiffs in the Individual Cases

 pursuant to Section VIII.

       C.    Interrogatories

       (1) Beginning seven (7) days from entry of this CMO (May 7, 2019),

 Co-Lead     Class   Counsel     and   Co-Liaison     Counsel    may    serve

 interrogatories on defendants. These counsel will coordinate so that

 defendants shall not need to respond to the same interrogatory request

 twice. Beginning seven (7) days from entry of this CMO (May 7, 2019),

 counsel for defendants may also serve interrogatories on the named

 plaintiffs in Carthan. However, no defendant may serve such

 interrogatories on any named plaintiff whose claims against that

 defendant have been dismissed in their entirety.

       (2) Co-Lead Class Counsel and Co-Liaison Counsel may serve no

 more than thirty (30) interrogatories on each defendant (or, in the case

 of the VNA Defendants and the LAN Defendants, on each group of

 defendants). These interrogatories may be served divided up into sets of


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  interrogatories, but no more than a total of thirty (30) may be served on

  any defendant unless otherwise agreed by all interested parties or with

  leave of court.

        (3)   Defendants     may    collectively      serve   twenty-five   (25)

  interrogatories on each named plaintiff in Carthan. Additionally, each

  defendant may individually serve five (5) interrogatories on each named

  plaintiff in Carthan. These interrogatories may be divided up into sets of

  interrogatories, but no more than the limits described in this paragraph

  may be served on any named plaintiff in Carthan unless otherwise agreed

  by all interested parties or with leave of court.

        (4) Beginning seven (7) days from entry of this CMO (May 7, 2019),

  defendants (or, in the case of the VNA Defendants and the LAN

  Defendants, each group of defendants) may serve twenty-five (25)

  interrogatories on each other defendant (or, in the case of the VNA

  Defendants and the LAN Defendants, on each group of defendants).

  These interrogatories may be divided up into sets of interrogatories, but

  no more than twenty-five (25) may be served on any defendant by any

  other defendant unless otherwise agreed by all interested parties or with

  leave of court.


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        (5) No defendant may serve any interrogatories on any defendant

  which is not a current codefendant with it in at least one of the Flint

  Water Cases.

        (6) Counsel for defendants shall serve interrogatories on plaintiffs

  in the Individual Cases pursuant to Section VIII.

        D.    Requests for Admission

        (1) Beginning seven (7) days from entry of this CMO (May 7, 2019),

  Co-Lead Class Counsel and Co-Liaison Counsel may serve requests for

  admission on defendants. These counsel will coordinate so that

  defendants shall not need to respond to the same request twice.

  Beginning seven (7) days from entry of this CMO (May 7, 2019),

  defendants may also serve requests for admission on the named plaintiffs

  in Carthan. No defendant may serve a request on any plaintiff whose

  claims against that defendant have been dismissed in their entirety.

        (2) Beginning seven (7) days from entry of this CMO (May 7, 2019),

  defendants (or, in the case of the VNA Defendants and the LAN

  Defendants, each group of defendants) may serve on each other

  defendant (or, in the case of the VNA Defendants and the LAN

  Defendants, on each group of defendants) no more than twenty-five (25)


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  requests for admission. These requests may be divided up into sets of

  requests, but no more than twenty-five (25) may be served on any

  defendant by any other defendant unless otherwise agreed by all

  interested parties or with leave of court.

        (3) No defendant may serve any requests for admission on any

  defendant which is not a current codefendant with it in at least one of the

  Flint Water Cases.

        (4) Counsel for defendants shall serve requests for admission on

  plaintiffs in the Individual Cases pursuant to Section VIII.

        E.    Pending Criminal Charges

        (1) A defendant who is subject to pending criminal charges may

  petition the Court for relief from written discovery until after the final

  resolution of those criminal charges.

  III. Requests for Entry on, Inspection, Sampling, and Testing
  of Land

        (1) Beginning thirty-seven (37) days from entry of this CMO (June

  6, 2019), Co-Lead Class Counsel and Co-Liaison Counsel may serve

  requests for entry on, inspection, sampling, and testing of land on

  defendants. Plaintiffs shall have the collective right to enter on, inspect,

  sample, and test each piece of land owned or otherwise controlled by each

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  defendant only once, unless otherwise agreed by all interested parties or

  with leave of court. Each entry shall not last more than seven (7) hours,

  unless otherwise agreed by all interested parties or with leave of court.

        (2) Beginning thirty-seven (37) days from entry of this CMO (June

  6, 2019), defendants may serve requests for entry on, inspection,

  sampling, and testing of land on the named plaintiffs in Carthan.

  Defendants shall have the collective right to enter on, inspect, sample,

  and test each piece of land owned or otherwise controlled by each named

  plaintiff only once, unless otherwise agreed by all interested parties or

  with leave of court. Each entry shall not last more than seven (7) hours,

  unless otherwise agreed by all interested parties or with leave of court.

        (3) Beginning thirty-seven (37) days from entry of this CMO (June

  6, 2019), defendants (or, in the case of the VNA Defendants and the LAN

  Defendants, each group of defendants) may serve requests for entry on,

  inspection, sampling, and testing of land on each other defendant (or, in

  the case of the VNA Defendants and the LAN Defendants, on each group

  of defendants). No defendant may serve any requests for entry on,

  inspection, sampling, and testing of land on any defendant which is not

  a current codefendant with it in at least one of the Flint Water Cases.


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        (4) Counsel for defendants shall serve requests for entry on,

  inspection, sampling, and testing of land on plaintiffs in the Individual

  Cases pursuant to Section VIII.

  IV.   Fact Witness Depositions

        A.    Testimonial Depositions

        (1) Beginning thirty (30) days from Substantial Completion of

  document production (September 4, 2019), parties may begin serving

  parties and non-parties with notices of testimonial deposition. However,

  this is with the exception of the plaintiffs in the Individual Cases who

  shall be served in accordance with Section VIII.

        (2) No deposition notice shall specify a deposition date that is less

  than thirty (30) days from the date the notice is served, unless otherwise

  agreed by all interested parties or with leave of court. All depositions

  shall be taken in accordance with the Amended Discovery Coordination

  Protocol Order (ADCPO), except that this CMO shall supersede the

  ADCPO if their provisions are inconsistent.

        (3) There shall not be any numerical limit on the number of

  testimonial depositions any party may take as a matter of right—the

  provisions of Federal Rule of Civil Procedure 30(a)(2)(i) shall not apply—

  but any party or non-party may move for a protective order with respect
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  to any deposition for any of the reasons recognized in the Federal Rules

  of Civil Procedure.

        (4) No named plaintiff or any employee of the named plaintiff in

  Carthan may be deposed for more than twelve (12) on-the-record hours

  unless otherwise agreed by all interested parties or with leave of court.

        (5) No defendant or any employee of the defendant may be deposed

  for more than fourteen (14) on-the-record hours unless otherwise agreed

  by all interested parties or with leave of court. Of the fourteen (14)

  permitted on-the-record hours, no fewer than six (6) shall be allotted to

  counsel for defendants, to be allocated between them by agreement.

  Allocation of the other eight (8) hours shall be for counsel for the

  plaintiffs, to be allocated between them by agreement.

        (6) No non-party witness may be deposed for more than twelve (12)

  on-the-record hours, unless otherwise agreed by all interested parties or

  with leave of court. Six (6) of the twelve (12) on-the record hours shall be

  allotted to counsel for the plaintiffs, to be allocated between them by

  agreement. The remaining six (6) hours shall be allotted to counsel for

  the defendants to be allocated among them by agreement.




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        (7) At least thirty (30) days before a deposition is taken, the party

  noticing the deposition shall serve notice of the deposition on Co-Lead

  Class Counsel, Co-Liaison Counsel, and counsel for defendants. In

  addition, the party noticing the deposition shall serve notice on Plaintiffs'

  Lead Counsel, Plaintiffs' Lead Class Action Counsel, and counsel for

  defendants in the Genesee County Circuit Court case In re Flint Water

  Litigation, No. 17-108646.

        (8) At least fifteen (15) days before a deposition, any party that

  intends to attend shall notify counsel for the party that served the

  deposition notice, Co-Lead Class Counsel, Co-Liaison Counsel, and

  counsel for defendants. In addition, any party that intends to attend shall

  notify Plaintiffs' Lead Counsel, Plaintiffs' Lead Class Action Counsel, and

  counsel for defendants in the Genesee County Circuit Court case In re

  Flint Water Litigation, No. 17-108646. Finally, any party that intends to

  attend shall notify counsel for the witness, if known.

        (9) During a deposition, any objection by counsel for any plaintiff

  shall be deemed an objection on behalf of all plaintiffs. It shall not be

  necessary for counsel for each plaintiff to separately object on the record

  to preserve the objection. Similarly, any objection by counsel for any


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  defendant shall be deemed an objection on behalf of all defendants. It will

  not be necessary for counsel for each defendant to separately object on

  the record to preserve the objection. But no party is bound by another

  party’s objection, and nothing in this paragraph shall preclude any party

  from stating its own objection on the record if that objection has not been

  made.

        (10) Witnesses shall read and sign their deposition transcripts. The

  Federal Rules of Civil Procedure shall govern the time each witness has

  to read and sign unless otherwise agreed by all interested parties or by

  leave of court. Counsel for the witness shall submit any errata pages and

  signatures to the court reporter via email.

        (11) At least seven (7) days before a deposition, counsel for each

  party that intends to examine a deponent (“Examining Counsel”) shall

  serve via electronic mail to counsel for any Plaintiff Group or Defendant

  Group who have indicated that they will attend, a non-binding list of

  documents (by Bates number) that they anticipate using or referring to

  during the deposition.

        (12) Examining Counsel shall bring copies of any documents used

  at a deposition (whether or not they are pre-designated) for counsel for


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  the witness and any interpreter. Examining Counsel shall not bring

  copies of pre-designated documents for any other counsel present at the

  deposition. However, Examining Counsel shall provide copies of any non-

  designated documents to counsel for any Plaintiff Group or Defendant

  Group who have indicated that they will attend.

        (13) Deposition exhibits shall be marked sequentially. Counsel

  shall not re-mark documents that have previously been marked as

  exhibits, and shall use the previously marked exhibit number in

  subsequent depositions. The index of exhibits annexed to each deposition

  transcript shall contain the Bates number, the exhibit number and a brief

  description of the exhibit.

        B.  Depositions of Health Care Providers, and Education
        and Plumbing Professionals

        (1) Because of the very large number of plaintiffs and, potentially,

  of absent class members, there are some types of witnesses whose

  testimony cannot practically be taken only once. This may include health

  care providers, education professionals, and plumbers. Witnesses of these

  types are excluded from the one-deposition-only rule.

        (2) Parties shall seek to minimize the unavoidable burden that will

  be imposed on witnesses of these types in all ways reasonably possible.

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  Measures to be considered with respect to each witness shall include,

  among others: stipulating in advance to the authenticity and other

  foundational facts bearing on the admissibility of records related to the

  plaintiff in whose case the deposition is taken; designating a single

  defense attorney and a single plaintiffs’ attorney to conduct the

  deposition on behalf of all defendants and plaintiffs; stipulating to the

  admissibility of testimony by the witness concerning their background,

  training, experience, and other matters that are of common relevance to

  more than the specific case in which the deposition is taken; and

  conducting depositions of the witness in two or more plaintiffs’ cases on

  a single day if convenient to the witness.

        C.    Pending Criminal Charges

        (1) A defendant who is subject to pending criminal charges may

  petition the Court for relief from testimonial depositions until after the

  final resolution of those criminal charges.

  V.    Plaintiff Examinations

        (1) The schedule for examinations of the named plaintiffs in

  Carthan will be established by Court order at a later date.

        (2) The schedule for examinations of the plaintiffs in the Individual

  Cases will be pursuant to Section VIII.
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  VI.   Expert Witnesses

        (1) Parties may serve notice of a deposition on expert witnesses

  who have been retained or employed by any other party and who have

  completed an expert report or disclosure pursuant to Federal Rule of Civil

  26(a)(2)(B) or (C) in relation to the alleged contamination of the City of

  Flint’s water supply on or after April 25, 2014. These expert witnesses

  shall be produced for deposition without need for service of a subpoena.

        (2) Expert witnesses shall deliver to the attorney who noticed the

  deposition an advance production of their complete file no later than

  seven (7) days before the date set for a deposition. The file shall include

  all materials compiled up to that time, except that the expert may exclude

  any portions protected by Federal Rule of Civil Procedure 26(b)(4). The

  attorney who noticed the deposition shall provide copies of the advance

  production to counsel for all other parties who have notified them of their

  intent to participate in the deposition.

        (3) The party who notices the deposition shall reimburse the expert

  for the time reasonably and actually devoted by the expert or their

  employees to making the advance production; the time reasonably and

  actually devoted by the expert in traveling to and from the site of the


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  deposition; the time spent by the expert at the deposition; the expense

  reasonably and actually incurred by the expert in producing other

  documents in response to any other request for production of documents;

  and the reasonable travel expenses (transportation, meals, lodging,

  miscellaneous) actually incurred by the expert in traveling to and from

  the site of the deposition and during their attendance at the deposition.

        (4) Unless an expert agrees otherwise, their deposition shall be

  taken in the locality where they work or reside.

  VII. Class Certification in Carthan

        (1) Within ten (10) months from entry of this CMO (March 2, 2020),

  a motion for class certification and supporting Federal Rule of Civil

  Procedure 26(a)(2) expert reports and disclosures shall be filed. Within

  three (3) months from the filing of the motion for class certification, any

  opposition and supporting Rule 26(a)(2) expert reports and disclosures

  shall be filed. Within two (2) months from the filing of any opposition, a

  reply in support of class certification shall be filed.

        (2) A hearing on the motion for class certification shall be set

  following the filing of the reply. Within two (2) weeks from the filing of




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  the reply, defendants shall notify the Court if an evidentiary hearing is

  requested.

  VIII. Bellwether Trial Proceedings in the Individual Cases

        (1) The initial bellwether trial will begin on October 28, 2020.

        A.     First Bellwether Pool Selection

        (1) Within seven (7) days from entry of this CMO (May 7, 2019), Co-

  Liaison Counsel and counsel for defendants shall submit to the Court an

  agreed-upon form of plaintiff fact sheet. If agreement upon fact sheets

  cannot be reached, the Court will place this issue on the May 15, 2019,

  status conference agenda. (Dkt. 789.)

        (2) Within fourteen (14) days from entry of this CMO (May 14,

  2019), the Special Master shall, based on census data that she has

  collected, identify the names of all individual plaintiffs whose dates of

  birth are between April 25, 2008, and April 25, 2014, and who only claim

  lead-induced injuries. The Special Master shall identify the numbers of

  the cases in which these individuals are plaintiffs.

        (3) Within twenty-one (21) days from entry of this CMO (May 21,

  2019), Co-Liaison Counsel and counsel for defendants shall select 150

  plaintiffs (“Pool One Claimants”) from those identified by the Special


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  Master, using a selection process to which they agree and which will

  result in the selection of a random sample.

        (4) Within fifty (50) days from the selection of the Pool One

  Claimants, each of the 150 plaintiffs shall provide to counsel for

  defendants completed plaintiff fact sheets, together with authorizations

  for release of records specified in the fact sheets and any documents

  specified in the fact sheets which are within their possession, custody, or

  control (as those words are used in Federal Rule of Civil Procedure 34(b)).

        (5) To the extent a plaintiff’s fact-sheet is less than substantially

  completed, Co-Liaison Counsel shall be notified within seven (7) days by

  counsel for defendants, and the deficiency shall be cured to the extent

  possible within seven (7) days after receiving notification.

        B.   Second Bellwether Pool Selection and Written
        Discovery

        (1) On day seventy (70) following the selection of the Pool One

  Claimants, Co-Liaison Counsel and counsel for defendants shall

  simultaneously identify to each other a total of 100 claimants from among

  the Pool One Claimants with respect to whom written discovery will be

  conducted (“Pool Two Claimants”). Half of the Pool Two Claimants will

  be selected by Co-Liaison Counsel and half will be selected by counsel for

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  defendants. If there is overlap between the Pool Two Claimants identified

  by the two sides, selection of additional claimants shall continue until a

  total of 100 claimants have been selected.

        (2) Beginning seventy-one (71) days from the selection of the Pool

  One Claimants, defendants may serve on each of the 100 Pool Two

  Claimants requests for production of documents and tangible things,

  interrogatories, and requests for admission.

        (3) Each defendant (or, in the case of the VNA Defendants and the

  LAN Defendants, each group of defendants) may serve on each Pool Two

  Claimant who has sued that defendant requests for production of

  documents and tangible things that comprise no more than thirty (30)

  separately    numbered      paragraphs     describing    with    reasonable

  particularity specific documents and things or categories of documents

  and things to be produced. The thirty (30) separately numbered

  paragraphs may be divided among as many separate sets of requests as

  the defendant serving them chooses, but the total number of paragraphs

  shall not exceed thirty (30) unless otherwise agreed by all interested

  parties or by leave of court.




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        (4) Each defendant (or, in the case of the VNA Defendants and the

  LAN Defendants, each group of defendants) may serve on each Pool Two

  Claimant who has sued that defendant up to twenty-five (25)

  interrogatories. The twenty-five (25) interrogatories may be divided

  among as many separate sets of interrogatories as the defendant serving

  them chooses, but the total number of interrogatories shall not exceed

  twenty-five (25) unless otherwise agreed by all interested parties or by

  leave of court.

        (5) Each defendant (or, in the case of the VNA Defendants or the

  LAN Defendants, each group of defendants) may serve on each Pool Two

  Claimant who has sued that defendant up to twenty-five (25) requests for

  admission. The twenty-five (25) requests for admission may be divided

  among as many separate sets of requests as the defendant serving them

  chooses, but the total number of requests shall not exceed twenty-five

  (25) unless otherwise agreed by all interested parties or by leave of court.

        C.   Third Bellwether Pool Selection and Further
        Discovery

        (1) On day ninety (90) following the selection of the Pool Two

  Claimants, Co-Liaison Counsel and counsel for defendants shall each

  identify thirty (30) claimants from among the Pool Two Claimants who

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  will be engaged in further discovery (“Pool Three Claimants”). If there is

  overlap between the Pool Three Claimants initially identified by the two

  sides, selection of additional Pool Three Claimants shall proceed in the

  manner described in this paragraph until a total of sixty (60) have been

  selected.

        (2) Beginning seven (7) days from selection of the Pool Three

  Claimants, defendants may begin noticing testimonial depositions of the

  Pool Three Claimants in accordance with the ADCPO. Defendants may

  also notice testimonial depositions of other persons with knowledge of

  facts particular to claims by the Pool Three Claimants in accordance with

  the ADCPO. There shall be no specific numerical limit on the number of

  testimonial depositions that may be taken, but no party or non-party

  witness is precluded from bringing a motion for a protective order if there

  is good cause for doing so.

        (3) Nothing in this Section is intended to prevent any party from

  deposing any other party or non-party before the date specified in this

  Section if the witness is reasonably likely to have discoverable

  information relevant to the issues in Carthan or if relevant to issues in

  any Genesee County case included in In re Flint Water Litigation.


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        (4) Beginning seven (7) days from the selection of the Pool Three

  Claimants, defendants may begin noticing and conducting entries upon

  land in the possession or control of the Pool Three Claimants for purposes

  of inspection, photographing, sampling, and testing. Defendants shall

  coordinate among themselves so that representatives of all defendants

  which have been sued by any Pool Three Claimant will complete their

  entries on the same date or dates, unless otherwise agreed by all

  interested parties or by leave of court.

        D.    Expert Depositions

        (1) Within six (6) months from selection of the Pool Three

  Claimants, but no sooner than the filing of the motion for class

  certification in Carthan, Co-Liaison Counsel shall provide full and

  complete Federal Rule of Civil Procedure 26(a)(2) expert reports and

  disclosures from all experts who have produced such reports and

  disclosures with respect to the Pool Three Claimants.

        (2) Beginning ten (10) days from the date Co-Liaison Counsel

  provides these Rule 26(a)(2) reports and disclosures, Each Pool Three

  Claimant shall begin appearing for Federal Rule of Civil Procedure 35

  examinations, on dates reasonably identified by defendants which that


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  claimant has sued. These examinations shall be conducted by suitably

  licensed or certified examiners identified by defendants. Examiners shall

  examine the claimant on the same day if the examiners are specialists in

  the same field unless the nature of the examinations make simultaneous

  examinations impractical. Examiners who are specialists in different

  fields may examine the claimant on different days. However, all

  examinations shall be completed within thirty (30) days unless otherwise

  agreed by all interested parties or by leave of court. After completion of

  all Pool Three Claimant Rule 26(a)(2) expert reports and disclosures and

  Rule 35 examinations, defendants may begin noticing depositions of the

  plaintiffs’ experts.

        (3) Beginning sixty (60) days from completion of all Pool Three

  Claimant Rule 26(a)(2) expert reports and disclosures, and at least fifteen

  (15) days from completion of depositions of plaintiffs’ experts, defendants

  shall provide full and complete Rule 26(a)(2) expert reports and

  disclosures to Co-Liaison Counsel. After disclosure of all defendant

  expert reports and disclosures, Co-Liaison Counsel may begin noticing

  depositions of the defendants’ experts.




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          E.   Bellwether Trial Selection

          (1) The selection process for the bellwether trials will be established

  by the Court at a later date.

  IX. Pre-Trial Motions and Completion Date for Discovery in
  All Cases

          (1) The date by which all pre-trial motions shall be filed and the

  completion date for discovery will be established by the Court at a later

  date.

  X.      Definitions

          (1) “Privileged Communications” mean attorney/client privileged

  communications, communications that constitute protected work

  product, and communications with experts that are protected from

  disclosure by Federal Rule of Civil Procedure 26(b)(4).

          (2) "Co-Lead Class Counsel" means the attorneys appointed from

  time to time by the Court to serve in that capacity as well as persons

  authorized by those persons to act in their stead. (Dkt. 696.)

          (3) "Co-Liaison Counsel " means the attorneys appointed from time

  to time by the Court to serve in that capacity as well as persons

  authorized by those persons to act in their stead. (Id.)




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        (4) "Defense Executive Committee" means the attorneys appointed

  from time to time by the Court to serve in that capacity as well as persons

  authorized by those persons to act in their stead. (Dkt. 260.)

        (5) “Carthan” means the consolidated putative class action case

  Carthan v. Snyder, No. 16-cv-10444.

        (6) “Individual Cases” means cases filed by persons that are set

  forth in Short Form Complaints and the Master Complaint, in accordance

  with the order dated November 17, 2017. (Dkt. 260.).

        (7) “Amended Discovery Coordination Protocol Order” or “ADCPO”

  means that order entered to limit duplication in the discovery process

  associated with litigation arising out of claims regarding the use of the

  Flint River as Flint’s water source in accordance with the order dated

  November 16, 2018. (Dkt. 675.)

        (8) “Plaintiffs” means the putative class representatives in Carthan

  and the plaintiffs in the Individual Cases, collectively.

        (9) “VNA Defendants” means Veolia North America, LLC, Veolia

  North America, Inc., Veolia Water North America Operating Services,

  LLC, insofar as each of the above individuals and entities remain as a

  party.


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        (10) “LAN Defendants” means Lockwood, Andrews, & Newnam,

  P.C., Lockwood, Andrews, & Newnam, Inc., Leo A. Daly Company,

  insofar as each of the above individuals and entities remain as a party.

  Dated: April 30, 2019                     s/Judith E. Levy
       Ann Arbor, Michigan                  JUDITH E. LEVY
                                            United States District Judge

                       CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served
  upon counsel of record and any unrepresented parties via the Court’s
  ECF System to their respective email or First Class U.S. mail addresses
  disclosed on the Notice of Electronic Filing on April 30, 2019.

                                            s/Shawna Burns
                                            SHAWNA BURNS
                                            Case Manager




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